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AO 245B (Rev. 02.’18) Ji.idgment in a Criminal Case

 

vl Sheet l
UNITED STATES DisTRiCT COURT
SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERiCA ) JUDGMENT IN A CRIMINAL CASE

V.

Andrew J. Simet

THE DEFENDANT:

)
)
§ Case Number: 1:17~CR-00043-001
§ usM Number; 18345-030

)

N|ichae| Lee Smart
Defendant's Aiiomey

mlplead€d guilty to COUm(S) One of the |ndictment filed on October 25, 2017.

[:] pleaded nolo contendere to count(s)

 

which was accepted by the court.

l:l was found guilty on count(s)

 

after a plea of not guilty_

The defendant is adjudicated guilty of these of`T"enses:

Title & Section Nature of Offense

18 u.s.c. § 875(<:)

|:] See additional count(s) on page 2

Offense Ended Count

 

lnterstate Communication of a Threat 06124/2017 One

The defendant is sentenced as provided in pages 2 through 7 of this judginenl. The sentence is imposed pursuant 10 the

Sentencing Reform Act of 1984.

[:I The defendant has been found not guilty on count(s)

l:i Count(s)

 

 

l:| are dismissed on the motion of the United States.

_ _ It is ordered t_liat the defendant _must notify the Uni_ted States Attor_ney for this district within 30 da s ofany change ofiiame, residence,
or mailing address unti|_all fines, restitution,_costs, and special assessments imposed ny this Judg_ment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attomey of material changes iri economic circumstances

February 19, 2019

 

Date of[niposition of judgment

    

§

on

John A. Jarvey, Chief U.S. Distriet Judge

Signature

 

Nanic of.ludge Titlc ofJudge

February z\ ,2019

 

Date

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AO 2458 (Rev. 02/ 18) Judgment in a Criminal Case
vl Sheet 2 _ imprisonment

Judgment Page: 2 of 7
DEFENDANT: Andrew J. Simet

CASE NUMBER: 1:17-CR-00043-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
19 months as to Count One of the |ndictment filed on October 25, 2017.

l:i The court makes the following recommendations to the Bureau of Prisons:

; d The defendant is remanded to the custody of the United States Marshal.

L__l The defendant shall surrender to the United States Marshal for this district:

|:] at _________ l:| a.m. l:l p.m. on

 

|:] as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

|:l before on

 

l:l as notified by the United States Marshal.

|:l as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l
I have executed this judgment as follows:
l
. l
`l
Defendant delivered on to
a , with a certified copy of thisjudgment.
UNlTED sTATES MARSHAL
By

 

DEPU'I"[ UNlTED STA'I`ES MARSHAL

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l
AQ 2458 (Rev. 02/18) .ludgment in a Criminal Case
vi k ` Shcet 3 - Supervised Release

DEFENDANT: Andrew J. Simet J“dgm€nll’as€f 3 Of 7
GA`SENUMBER:1:17-CR-00043-001

SUPERVISED RELEASE

U_pon release from imprisonment, you will be on supervised release for a term of. '
'lihree years as to Count One of the lndictment filed on October 25, 2017.

MANDATORY CONDITIONS

l. You must not commit another federal, state or local crime

2. You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release nom
imprisonment and at least two periodic drug tests thereafter, as determined by the court

|:| The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of fixture substance abuse. (check ;fappIicable)

4, |:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution (check i'fapp/icable)

5_ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6_ |:| You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, el seq.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
are a student, or were convicted of a qualifying offense. (check ifapplicable)

7. l:] You must participate in an approved program for domestic violence. (check ifapplimble)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 

 

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AO 2455 (Rev. 021']8) judgment in a Criminal Casc
vi Shccl SA - Supervised Relcase

DEFENDANT: Andrew J_ Simet Judgment Page: 4 of7

CASE N[_]MBE,R; 1117-CR-00043-001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish tlie basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and conditionl

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting to the probation office1 you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per weel<) at a lawful type of einploynient, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so` If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least l0 days before the change. lf notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed1 or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infomiant without
first getting the permission of the court.

l2. lf the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

!\J

U.S. Probation Office Use Only

A U.S. probation officer has instructed inc on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overvi'ew ofl’robari`on and Siipei'vi`sed
Refease Condi`rions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 

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AO 2458 (Rev. 02/18) Judgment in a Criminal Case

v| Sheet 3D _ Supervised Release

DEFENDANT: Andrew J. Simet ludgm€nt Page: 5 of 7

CASE NUMBER: 1:17-CR-00043-001

SPECIAL CONDITIONS OF SUPERVISION

¥ou must not contact the victim(s), nor the victim’s family without prior permission from the U.S. Probation Of‘Ecer.

You must submit to a mental health evaluation. |f treatment is recommended, you must participate in an approved
treatment program and abide by all supplemental conditions of treatment Participation may include inpatient/outpatient

treatment and/or compliance with a medication regimen. You will contribute to the costs of services rendered (co-payment)
bjsed on ability to pay or availability of third party payment

You must participate in a program of testing and/or treatment for substance abuse, as directed by the Probation Offlcer,
until such time as the defendant is released from the program by the Probation Off'ice. At the direction of the probation
oftice, you must receive a substance abuse evaluation and participate in inpatient and/or outpatient treatment, as
recommended Participation may also include compliance with a medication regimen. You will contribute to the costs of
services rendered (co-payment) based on ability to pay or availability of third party payment. You must not use alcohol
and/or other intoxicants during the course of supervision

You must not patronize business establishments where more than fifty percent of the revenue is derived from the sale of
alcoholic beverages

You will submit to a search of your person, property, residence, adjacent structures, office, vehic|e, papers, computers (as
defined in 18 U.S.C. § 1030(e)(1)), and other electronic communications or data storage devices or medial conducted by a
U.S. Probation Oflicer. Failure to submit to a search may be grounds for revocation. You must warn any other residents or
occupants that the premises and/or vehicle may be subject to searches pursuant to this condition. An officer may conduct
a search pursuant to this condition only when reasonable suspicion exists that you have violated a condition of your
release and/or that the area(s) or item(s) to be searched contain evidence of this violation or contain contraband Any
search must be conducted at a reasonable time and in a reasonable manner. This condition may be invoked with or
without the assistance of law enforcement including the U.S. Marshals Service.

You must reside, participate, and follow the rules of the residential reentry program, as directed by the U.S. Probation
Oflicer, for up to 120 days. The residential reentry program is authorized to allow up to six hours of pass time per week for
good conduct when you become eligible in accordance with the residential reentry program standards.

You must sign releases allowing the U.S. Probation OfEce to communicate with your treating physicians, including but not
limited to, any psychiatrist, psychologist or mental health professiona|. You must provide the U.S. Probation Oflice with
proof of prescribed medications on a monthly basis. You must sign any releases necessary for the Probation Office to
obtain medical records from any treating physician or mental health professional regarding the proper use of your
prescribed medication You must allow the U.S. Probation Office to monitor your taking of prescribed medication by any
means deemed appropriate by the U.S. Probation Oftice.

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AO 24513 (Rev. 01/!8) ludgmenl in a Criminal (`usc
Vl Shcct 5 _ Criminal Monciary Penaltics

DEFENDANT: Andrew J. elmer J“"g'“°“‘ P‘”=”E: 6 °‘ 7
CASE NUMBER; 1;17-cR-00043-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

d Pursuant to 18 U.S.C. § 3573, upon the motion ofthe government, the Court hereby remits the defendants Special Penalty
Assessment; the fee is waived and no payment is required.

Assessment JVTA Assessmenr, * Fine Restitution
TOTALS $ 0.00 3 0.00 3 0.00 $0.00
l:l The determination of restitution is deferred until . An .'tmended.)'udgmem in a (.'rr`minal Case f/lO 245€) will be entered

after such determination

[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each pay;ee shall receive an approximately rogertioned payment, unless specified otherwise in

the priority order or percentage payment column elow. However, pursuant to 18 .S § 3664(1], all nonfederal victims must be paid
before the United States is pald.

Name of Pavee Total Loss** Restitution Ordered Prioritv or Perccntage

TOTALS $U.OO $0.00

|:l Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day after the date ofthejudgment, pursuant to 18 U.S.C. § 3612(£). Al| ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
I:l the interest requirement is waived for the [:| fine |:| restitution.

[] the interest requirement for the [:| fine \:| restitution is modified as follows:

* Justice for Victims ofTraffickin<’ Act of 2015, Hub. L. No. 114-22.

** Findings for the total amount oiplosses are req;pired under Chapters l09A, l ]0, l lOA, and i 13A of 'i`itle 18 for offenses committed on or
after September 13, 1994, but before April 23, l 96.

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AO 245B (Rev. 02/18) Judgment in a Criminal Case

vl Sheet 6 - Schedule of Payments

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DEFENDANT: Andrew J. Simet
CASE NUMBER: 1 :17-CR-00043-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A |:| Lump sum payment of $ due immediately, balance due

|:| not later than ,or
[:] in accordance [:| C, jj D, |:] E,or |:j Fbelow; or

|:j Payment to begin immediately (may be combined with |:l C, |:| D, or jj F below); or

C |:| Payment in equal (e.g., weekly, monrhly, quarler!y) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date Ofthis judgment; Ol‘
D |:| Payment in equal (e.g., weekly, monrhly. quarrerly) installments of $ over a period of
_ (e.g., months oryears), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |:| Special instructions regarding the payment of criminal monetary penalties:

Unless_the court has expressly ordered otherwise, if this|judgment imposes imprisonment, pa|yment of criminal monetary enalties is due during
th_e period of imprisonment All crimnal monetary pena ties except those payments made t rough the Federal Bureau o Prisons’ Inmate
Fmancial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (includi'ng defendant number), Tota| Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution

l:l

The defendant shall pay the following court cost(s):

l:| The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in th_e followin order: (l) assessment '(2) restitution principal (3) restitution interest, (4) fine principal,($) fine
interest, (6) community restitution, (7) J A assessment, and (83 costs, including cost of prosecution and court costs.

